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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UNITED STATES OF AMERICA
                                                 No. 12CR039
              v.
                                                 Judge Amy St. Eve
GRZEGORZ DWORAK

                             AGREED PROTECTIVE ORDER

       This matter coming before the Court upon the request of the Parties and the Court

being fully advised and pursuant to Fed. R. Crim. P. 16(d).

       1.     All of the materials exchanged by the Parties, provided by the United States,

or produced by third parties, in preparation for, or in connection with the proceedings in this

case (collectively, "the materials") are subject to this protective order and may be used by

defendant and defendant’s counsel (defined as counsel of record in this case) solely in

connection with the defense of this case, and for no other purpose, and in connection with

no other proceeding, without further order of this Court.

       2.     Defendant and defendant’s counsel and the government shall not disclose the

materials or their contents directly or indirectly to any person or entity other than persons

employed to assist in the defense, persons who are interviewed as potential witnesses,

counsel for potential witnesses, and other persons to whom the Court may authorize

disclosure (collectively, “authorized persons”). Potential witnesses and their counsel may

be shown copies of the materials as necessary to prepare the defense, but may not retain

copies without prior permission of the Court.
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       3.     Certain materials disclosed or to be disclosed may contain particularly sensitive

information. These materials shall be plainly marked as sensitive prior to disclosure. No

such materials, or the information contained therein, may be disclosed to any persons other

than defendant, counsel for defendant, persons employed to assist the defense, or the person

to whom the sensitive information solely and directly pertains, without prior notice to the

government and the entity/individual producing the documents and authorization from the

Court. Absent prior permission from the Court, information marked as sensitive shall not be

included in any public filing with the Court, and instead shall be submitted under seal (except

if the defendant chooses to include in a public document sensitive information relating solely

and directly to the defendant.

       4.     Defendant, defendant’s counsel, and authorized persons shall not copy or

reproduce the materials except in order to provide copies of the materials for use in

connection with this case by defendant, defendant’s counsel, and authorized persons. Such

copies and reproductions shall be treated in the same manner as the original materials.

       5.     Defendant, defendant’s counsel, and authorized persons shall not disclose any

notes or records of any kind that they make in relation to the contents of the materials, other

than to authorized persons, and all such notes or records are to be treated in the same manner

as the original materials.

       6.     Before providing materials to an authorized person, defense counsel must

provide the authorized person with a copy of this Order.

       7.     Upon conclusion of all stages of this case, all of the materials and all copies

made thereof shall be disposed of in one of three ways, unless otherwise ordered by the
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Court. The materials may be (1) destroyed; (2) returned to the United States; or (3) retained

in defense counsel's case file. The Court may require a certification as to the disposition of

any such materials. In the event that the materials are retained by defense counsel, the

restrictions of this Order continue in effect for as long as the materials are so maintained, and

the materials may not be disseminated or used in connection with any other matter without

further order of the Court.

       8.     To the extent any material is produced by the United States to defendant or

defendant’s counsel by mistake, the United States shall have the right to request the return

of the material and shall do so in writing. Within five days of the receipt of such a request,

defendant and/or defendant’s counsel shall return all such material if in hard copy, and in the

case of electronic materials, shall certify in writing that all copies of the specified material

have been deleted from any location in which the material was stored.

       9.     The restrictions set forth in this Order do not apply to documents that are or

become part of the public court record, including documents that have been received in

evidence at other trials, nor do the restrictions in this Order limit defense counsel in the use

of discovery materials in judicial proceedings in this case, except that any document filed by

any party which attaches or otherwise discloses specially identified sensitive information as

described in Paragraph 3, above, shall be filed under seal to the extent necessary to protect

such information, absent prior permission from this Court.
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       10.    Nothing contained in this Order shall preclude any party from applying to this

Court for further relief or for modification of any provision hereof.



                                           ENTER:



                                           _______________________________
                                           AMY J. ST. EVE
                                           District Judge
                                           United States District Court
                                           Northern District of Illinois

Date: July 17, 2012
